      Case 4:18-cv-04848 Document 1 Filed on 12/30/18 in TXSD Page 1 of 9



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

KIMALETHA WYNN; and                                  )(     Civil Action No.: 18-cv-4848
JEANIQUE McGINNIS as next friend of                  )(     (Jury)
K.Y., R.Y., and M.Y., minors;                        )(
                                                     )(
                                      Plaintiffs,    )(
                                                     )(
V.                                                   )(
                                                     )(
HARRIS COUNTY, TEXAS;                                )(
                                                     )(
                                      Defendants.    )(

                            PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF THE COURT:

       NOW COMES KIMALETHA WYNN and JEANIQUE McGINNIS, as next friend of

K.Y., R.Y., and M.Y., minors; herein complaining of HARRIS COUNTY, TEXAS and will show

the Court the following:

                           I. NUTSHELL and PRELIMINARY FACTS

1.     The Harris County jail has an atrocious record of failing to prevent the suicide of inmates

despite many suicides and suicide attempts and warnings from the Texas Commission on Jail

Standards, (the “TCJS”), the governmental body charged with county-jail oversight. Between 2005

and 2015, 199 inmates died in the custody of the Harris County Sheriff's Office. Many died from

lack of medical care; 26 committed suicide and 22 were killed by deputies.

2.     Despite all the previous suicides and TCJS warnings known suicidal 32-year old Vincent

Dewayne Young committed suicide on February 13, 2017 by hanging with a blanket (hanging by

bedding is the primary method of inmate suicide) when he was in a jail infirmary cell. Prior to his

death, Young made suicidal statements and exhibited other mental health problems. The Harris

Plaintiffs’ Original Complaint                                                         Page 1 of 9
         Case 4:18-cv-04848 Document 1 Filed on 12/30/18 in TXSD Page 2 of 9



County Sheriff’s Office fired Detention Officer Abraham Romero for failing to perform his

appointed and required rounds regarding Vincent’s custody and ultimate death.

3.       Further, Harris County is fighting open records requests regarding Vincent displaying a

pattern and practice of hiding evidence and information from the public preventing their

knowledge of the practices in the Harris County jail and hindering changes that can be made to

suicide prevention practices. Several months after Vincent’s death Sheriff Edward Gonzalez

announced sweeping suicide prevention policy and practice changes.

4.       Plaintiffs sue under decades-old Fifth Circuit precedent that inadequate suicide prevention

jail practices and customs caused their loved one’s death. Hare v. City of Corinth, Miss., 74 F.3d

633, 636 (5th Cir. 1996) (en banc); Flores v. County of Hardeman, 124 F.3d 736, 738 (5th Cir.

1997).

                                  II. JURISDICTION & VENUE

5.        This Court has jurisdiction over Plaintiffs’ federal claims, under 28 U.S.C. § 1331 and

2201, 42 U.S.C § 1983 and 1988, and the Fourth, Fifth, Eighth, and Fourteenth Amendments to

the United States Constitution, and supplemental jurisdiction under 28 U.S.C. § 1367(a), to hear

Plaintiff’s state law claims, if any.

6.       Venue is proper in this Court under 28 U.S.C. § 1391(b) because the incidents at issue took

place in Harris County, Texas, within the United States Southern District of Texas.

                                          III. PARTIES

7.         PLAINTIFF KIMALETH WYNN is a resident of Harris County, Texas.

8.         PLAINTIFF JEANIQUE McGINNIS, as next friend of K.Y., R.Y., and M.Y., minors;

are residents of Louisiana.

9.         DEFENDANT HARRIS COUNTY, TEXAS is a governmental body existing under the


Plaintiffs’ Original Complaint                                                          Page 2 of 9
       Case 4:18-cv-04848 Document 1 Filed on 12/30/18 in TXSD Page 3 of 9



laws of the State of Texas and can be served with process by serving the County Judge of Harris

County, Texas at 1001 Preston, Suite 911, Houston, Texas 77002 or wherever the County Judge

is she is found.

                                       IV. ADDITIONAL FACTS

10.       Vincent Dewayne Young, 32, was married to Kimaletha Wynn and had three minor

children, K.Y., R.Y., and M.Y., with Jeanique McGinnis.

11.       Vincent was booked into the Harris County jail February 7, 2017. He complained of

backpain, high blood pressure, anxiety and depression to jail staff.

12.       On February 8, 2017 Vincent was accessed at the Mental Health Clinic at the Harris

County jail. He was prescribed medications for high blood pressure, pain and detoxification.

Young admitted to jail medical staff that he had taken Lisinopril (an ACE inhibitor used to treat

high blood pressure), HCTZ (a diuretic also used to treat high blood pressure), Norco (an opioid

pain medication) and Xanax (a benzodiazepine for anxiety and depression).

13.       On February 10, 2017, Vincent was assessed again as he was complaining of anxiety and

depression. Vincent told staff that he has had been taking Xanax since he was 17 years old. Vincent

also stated to jail medical staff that he felt defensive around others when not taking Xanax. He also

complained of racing thoughts, paranoia, that others were talking about him, causing him to sit in

the corner. Suicidal tendencies are a well-known side effect of Xanax withdrawal. Weaning off

(gradually lowering doses) Xanax is best practices for Xanax withdrawal. Jail medical staff

determined no mental health services were needed at the time.

14.       Two days later, on February 12, 2017, Harris County Detention Officer Levant Dogan

(“D.O. Dogan”) was in the jail pod control center (a/k/a picket) when Vincent approached the pod

window to speak with D.O Dogan. Dogan observed Vincent was depressed. Vincent did not say


Plaintiffs’ Original Complaint                                                           Page 3 of 9
      Case 4:18-cv-04848 Document 1 Filed on 12/30/18 in TXSD Page 4 of 9



anything to D.O. Dogan. Later, Inmate Marlon Witherspoon approached the picket and told D.O.

Dogan he thought Vincent was suicidal. Vincent had told Inmate Witherspoon he wanted to kill

himself. D.O. Dogan then called jail rovers (detention officers who help where needed) who took

Vincent to a holdover cell while D.O. Dogan completed a psychiatric screening form. At

approximately 10:59 pm Vincent was again evaluated by jail medical staff. Irregular heart beat

due to withdrawal was noted.

15.      On February 13, 2017 Vincent was admitted to the jail infirmary for Xanax

(benzodiazepine) drug withdrawal, high blood pressure, and for being a hospital returnee. A

psychological evaluation was not done at the time but was pending after detoxification. Vincent

was placed in an infirmary cell by himself. Vincent was found hung by a bed sheet in his infirmary

cell at 7:10 pm by Detention Officer Abraham Romero (“D.O. Romero”) who was doing safety

rounds checking on inmates. D.O. Romero noted that Vincent was warm to the touch and not rigid.

Other detention officers and jail medical staff arrived and performed CPR, however, Vincent did

not recover. The medical examiner ruled Vincent’s cause of death as suicide and manner of death

as hanging.

16.      The round just previous to the 7:10 pm round where Vincent was found hanging was at

5:56 pm.—a period of 1 hour and 14 minutes, which is far in excess of the required observation

periods. Despite knowing of Vincent’s medications and psychological evaluation, no one entered

Vincent’s cell from 1:50 pm to 7:10 pm. prior to his death.

17.      The Texas Rangers investigated the death of Vincent Young and found 21 discrepancies

in the round sheet for Vincent including several for rounds recorded but not done. D.O. Romero

was eventually fired.

18.      D.O. Romero told investigating Rangers that he was too busy escorting medical staff into


Plaintiffs’ Original Complaint                                                        Page 4 of 9
      Case 4:18-cv-04848 Document 1 Filed on 12/30/18 in TXSD Page 5 of 9



infirmary cells to perform all the rounds. D.O. Romero blamed inadequate staffing by Harris

County, Texas for failure to do rounds.

19.       On February 21, 2017, the TCJS cited the Harris County jail for not doing rounds every

30 minutes and exceeding the allowable round time by 44 minutes in the case of Vincent’s death.

20.       Between 2005 and 2015, 199 people died in custody of the Harris County Sheriff's

Office. Some died due to poor medical care, 26 committed suicide, and 22 were killed by deputies.

21.       Prior to Vincent’s death jail watch commanders were not required to conduct random

audits that compared detention officers’ written inmate observational rounds records with video

footage to verify accuracy.

22.       Prior to Vincent’s death supervisors did not verify that detention officers conducting their

rounds were obtaining firsthand evaluation of the inmates’ attitudes and temperament, nor

observing the physical, mental, and emotional condition of each inmate to detect signs of distress

or need for medication, psychological or other special services.

23.       Prior to Vincent’s death supervisors were not meeting with detention officers to iterate

and reiterate the importance of properly conducting inmate welfare rounds.

24.       Prior to Vincent’s death there were no video surveillance cameras in those health services

cells which typically house inmates requiring close observation such as Vincent’s cell.

25.       Prior to Vincent’s death the Sheriff’s Office did not explore technology applications that

would assist in ensuring observational rounds are conducted in compliance with policy such as

placing sensors at each cell door that a jailer must touch with an identification to show the jailer

was at a certain inmate’s cell at a certain time as employed by many jails.

26.       Prior to Vincent’s death there were several instances of failure to do rounds in a timely

manner.


Plaintiffs’ Original Complaint                                                            Page 5 of 9
      Case 4:18-cv-04848 Document 1 Filed on 12/30/18 in TXSD Page 6 of 9



27.       Prior to Vincent’s death there was not enough staff at the jail to ensure detention officers

could do rounds in a timely manner.

28.      Eight years before Vincent’s death, Harris County was notified by the Department of

Justice in a 2009 twenty-three page report that it should inter alia, update and improve medical and

mental health quality assurance and training programs to ensure compliance with generally

accepted correct medical standards, employ sufficiently qualified staff, increase video surveillance

in critical housing areas, and alter staffing patterns to provide additional direct supervision of

housing units. However, Harris County failed to enact or did not completely and appropriately

enact the improvements which the Department of Justice noted.


                                   V. CAUSES OF ACTION

      42 U. S. C. SECTION 1983 VIOLATIONS OF PLAINTIFF’S CIVIL RIGHTS

29.      Plaintiffs incorporate by reference all of the preceding paragraphs.

30.      Harris County was acting under color of state law and, therefore, is liable under 42 U.S.C.

§ 1983. Harris County is liable under Section 1983 because it deprived Vincent of constitutional

rights provided by federal law that occurred under color of state law and were caused by state

actors. Hare v. City of Corinth, Miss., 74 F.3d 633, 636 (5th Cir. 1996) (en banc); Flores v. County

of Hardeman, 124 F.3d 736, 738 (5th Cir. 1997).

31.      Vincent had a right under the Fourteenth Amendment and Eighth Amendments to the

United States Constitution while incarcerated to be free from indifference to his medical and

mental health needs. Harris County treated Vincent with unreasonable medical care and was

deliberately indifferent, negligent and grossly negligent to his serious medical needs, mental health

needs and wellbeing.

32.      Defendant Harris County as a matter of policy, practice, custom and/or procedure did not

Plaintiffs’ Original Complaint                                                            Page 6 of 9
      Case 4:18-cv-04848 Document 1 Filed on 12/30/18 in TXSD Page 7 of 9



have adequate staffing, had a practice and custom of not doing rounds, had a custom and practice

of not checking to see if detention officers were doing rounds, and failed to provide and maintain

adequate equipment to prevent suicide despite past warnings from the Texas Commission on Jail

Standards.

33.      Defendant Harris County, their employees, and their agents, failed to train and failed

adequately supervise the actions and omissions of the jail detention officers and employees and

agents of the Harris County, Texas jail.

34.      Prior to his death Vincent did not receive adequate medical care for his withdrawal

symptoms due to the policies of the Harris County jail causing much pain and mental anguish

including suicidal ideations.

35.      Vincent’s death was due to the acts and omissions of Defendants and those acts and

omissions violated his constitutional right to due process, to be free from unreasonable search and

seizure and the privileges and immunities and rights guaranteed by the Fourteenth Amendment,

making Defendants liable to Plaintiffs under and pursuant to 42 U.S.C. § 1983, 1985.

                                           VI. DAMAGES

36.      Plaintiffs incorporates by reference all of the preceding paragraphs.

37.      Plaintiffs experienced, and in all likelihood will experience, at least great pain and

suffering in the past and in the future, great mental anguish in the past and future, medical and

living expenses in the past and future, loss of enjoyment of life, loss of future earnings capacity,

loss of consortium, loss of financial support and household services, comfort, love and society,

and plaintiffs seek exemplary damages. Plaintiffs also bring claims for violations of his Fourth,

Fifth, and Fourteenth Amendment rights.

38.      Plaintiffs have been damaged by the loss of companionship, consortium and support that

would have been provided by Vincent but for his preventable death while in custody.
Plaintiffs’ Original Complaint                                                          Page 7 of 9
      Case 4:18-cv-04848 Document 1 Filed on 12/30/18 in TXSD Page 8 of 9



39.       Vincent suffered great mental anguish and pain in the minutes and hours before his death

and such is actionable through his estate and funeral expenses are recoverable as well.

                                     VII. ATTORNEYS’ FEES

40.       Plaintiffs are entitled to recover attorneys’ fees and expenses under 42 U.S.C. § 1983 and

§1988.

                                         VIII. JURY TRIAL

41.       Plaintiffs demand trial by jury on all issues triable to a jury.

                                            IX. PRAYER

         Plaintiffs pray the Court enter judgment and award damages for Plaintiffs against the

Defendants, jointly and severally;

         Plaintiffs pray that the Court find that Plaintiffs are the prevailing parties in this case and

award attorneys' fees and costs and all litigation expenses, pursuant to federal and state law, as

noted against the Defendants;

         Plaintiffs pray that the Court award pre- and post-judgement interest;

         Plaintiffs pray that the Court award punitive damages against all individually named

Defendants to Plaintiffs;

         Plaintiffs pray that the Court award costs of court; and

         Plaintiffs pray that the Court grant such other and further relief as appears reasonable and

just, to which, Plaintiffs shows themselves entitled.




Plaintiffs’ Original Complaint                                                              Page 8 of 9
      Case 4:18-cv-04848 Document 1 Filed on 12/30/18 in TXSD Page 9 of 9



                                    Respectfully submitted,

                                    /s/ Randall L. Kallinen
                                    Randall L. Kallinen
                                    TBN: 00790995
                                    FBN: 19417
                                    attorneykallinen@aol.com

                                    KALLINEN LAW PLLC
                                    511 Broadway Street
                                    Houston, Texas 77012
                                    (713) 320-3785
                                    (713) 893-6737 -- facsimile

                                    /s/ Charles H. Peckham
                                    Charles H. Peckham
                                    TBN: 15704900
                                    FBN: 15770
                                    cpeckham@pmlaw-us.com

                                    Mary A. Martin
                                    TBN: 00797280
                                    FBN: 12272
                                    mmartin@pmlaw-us.com

                                    PECKHAM MARTIN, PLLC
                                    Two Bering Park
                                    800 Bering Drive, Suite 220
                                    Houston, Texas 77057
                                    (713) 574-9044
                                    (713) 493-2255 – facsimile




Plaintiffs’ Original Complaint                                       Page 9 of 9
